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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

 WALKIN’ BILLBOARD, LLC D/B/A
 TERMINUS TEES,

         PLAINTIFF;
                                              CIVIL ACTION NO.:
 V.                                           17-CV-00720-AT

 ATOMSCHIRM CORPORATION
 D/B/A RANGER UP,

         DEFENDANT.

                                 CONSENT ORDER

       COMES NOW Walkin’ Billboard, LLC d/b/a Terminus Tees, Plaintiff in the

above-styled action (“Terminus”), and Defendant Atomschirm Corporation d/b/a

RangerUp (“RangerUp”) who, desiring to end the instant litigation, show this Court

the following:

      1. RangerUp and Terminus have executed that certain Settlement Agreement,

         attached as Exhibit A to this Consent Order.

      2. The parties agreed that the Settlement Agreement would be enforceable as

         part of a Consent Order by this Court.

      3. Terminus and RangerUp specifically agree that time is of the essence of this

         Consent Order.
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     It appearing to this Court that the parties hereto are in agreement to the terms

and conditions of this Consent Order, it is HEREBY ORDERED and

ADJUDGED that this Consent Order become an Order of this Court and that the

parties are directed to strictly comply herewith.

     SO    ORDERED        THIS    29th   day    of   June, 2018.




                                          HON. AMY TOTENBERG
                                          UNITED STATES DISTRICT JUDGE



Prepared and consented to by:       Consented to by:
KAUFMAN & FORMAN, P.C.              ROBBINS ROSS ALLOY BELINFANTE
                                    LITTLEFIELD LLC

/s/ Alex B. Kaufman                 /s/ Jason S. Alloy
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